     Case 5:17-cr-00013-MTT-CHW               Document 1         Filed 04/11/17      Page 1 of 12



                        II\ THE LNITED STATES DISTRICT COURT
                        FOR THE MIDDLE DISTRICT OF GEORGIA
                                    MACON DIVISION

UNITED STATES OF AMERICA                                         l"'DICTM~:NT


        v.                                                       CRIMll\AL NO.         5:17-CR-    /J
(1) WALTER WILLIAMS a/k/a "BLBBA,"                              VIOLATIONS:
(2) Ml LTO:\' DOBBIN EV ANS,                                    21u.s.c.§846
(3) ELIZABETH GALLAHER,                                         21 U.S.C. § 841(a)(l)
(4) JAMES BOWELL a/k/a "FLIP,"                                  21 U.S.C. § 841(b)(l)(A)(viii)
(5) LAYLA KEANEY,                                               21 !J.S.C. § 84l(b)(l)(C)
(6) BOBBY MARTil\EZ                                             18 U.S.C. § 924(c)
(7) RUSSELL TODD :vIATHIS,                                      18 LS.C. § 2
(8) ANT0'.\'10 MENDEZ-RA:vIOS,                                  21 u.s.c. § 853
(9) CHADWICK '.\'ICHOLSO'.\',                                   18 L.S.C. § 924(d)(l)
(10) RUBEN A'.\'GEL PEREZ a/k/a "EL REY,"                       28 U.S.C. § 2461(c)
(11) ASHLEE SHAW,
(12) DANl\A STOKES,
(13) SHAl\A WALKER                                              UNDER SEAL

THE GRAND .JURY CHARGES:

                                        COUl\TONE
             (Conspirac)' to Possess with Intent to l)istribute :\tlethamphetaminc)
        That from on or about May 1, 2016, through on or about October 21, 2016, in the Macon

Division of the Middle District of Georgia, and elscv·,rhcre \.Vi thin the jurisdiction of this Court,

                             (1) WALTER WILLIAMS a/k/a "BUBBA,"
                                   (2) MILTO'.'i DOBBll'( EVAl\S,
                                   (3) ELIZABETH GALLAHER,
                                (4) .JAMES HOWELL a/k/a "FLIP,"
                                         (5) LAYLA KEANEY,
                                       (6) BOBBY MARTINEZ,
                                   (7) RUSSELL TODD MATHIS,
                                 (8) A'.'ITONIO ME'\'DEZ-RA:vIOS,
                         (10) RUBEi\ ANGEL PEREZ a/k/a "EL REY,"
                                       (11) ASllLIU: SHAW,
                                    (12) DAN'.'IA STOKES, and
                                      (13) SHANA WALKER

did kno\vingly and intentionally combine, conspire, and agree together and \Nith each other, and

\Vith others. both known and unknov.'n to the Grand Jury, to kno\.vingly possess with the intent to
     Case 5:17-cr-00013-MTT-CHW             Document 1        Filed 04/11/17      Page 2 of 12



distribute a Schedule II controlled substance, to-wit: methamphetamine, in an amount in excess of

50 grams; all in violation of Title 21, United States Code, Section 846 in connection with Title 21,

United States Code, Section 84l(a)(l) and 84l(b)(l)(A)(viii),

                                      COt:NT TWO
                (Conspiracy to Possess with Intent to Distribute Marijuana)
       That from on or about May 1, 2016, through on or about October 21, 2016, in the Macon

Division of the Middle District of Georgia, and elsewhere 'A'ithin the jurisdiction of this Court,

                            (!) WALTER WILLIAMS a/k/a "BUBBA,"
                                       (5) LAYLA KEANY,
                                    (6) BOBBY MARTINEZ,
                              (8) ANTONIO MENDEZ-RAMOS,
                                (9) CHADWICK NICHOLSON,
                        (IO) RUBEN ANGEL PEREZ a/k/a "EL REY,"
                                     (13) SHANA WALKER

did knowingly and intentionally combine, conspire, and agree together and with each other, and

with others, both known and unknown to the Grand Jury, to knowingly possess \.Vi th the intent to

distribute a Schedule I controlled substance, to-wit: marijuana; all in violation of Title 21, United

States Code, Section 846 in connection with Title 21, Cnited States Code, Section 84l(a)(l) and

84l(b)(l)(D).

                                      COt:NT THREE
                            (Distribution of Methamphetamine)
       That on or about June 7, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                              (4) JAMES HOWELL a/k/a "FLIP,"

did unlawfully, knowingly, and intentionally distribute a Schedule II controlled substance, to-wit:

methamphetamine, in an amount in excess of 50 grams; all in violation of Title 21, United States

Code, Section 84l(a)(l) and 841(b)(l)(A)(viii).
     Case 5:17-cr-00013-MTT-CHW                Document 1         Filed 04/11/17       Page 3 of 12



                                         COUl\T FOUR
                              (Distribution of Methamphctaminc)
        ·rhat on or about June 20, 2016, in the Macon Division of the \1iddle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                                (4) JAMES HOWELL a/k/a "FLIP,"

did unlavvfull) knov.'ingly, and intentionally distribute a Schedule II controlled substance, tO-\vit:
                1
                    ,




methamphctaminc, in an amount in excess of 50 grams; all in violation of 'J'itlc 21, lJnitcd States

Code, Section 841(a)(1) and 841 (b )(I )(A)(viii).

                                          COLl\T FIVE
                              (l}istribution of Methamphetamine)
        ·rhat on or about June 21, 2016, in the Macon l)ivision of the \1iddlc J)istrict of Georgia,

and clsc\vhcrc within the jurisdiction of this c:ourt,

                             (I) WALTER WILLIA:v!S a/k/a "BlJBBA,"

did unlawfully, knov-iing\y, and intentionally distribute a Schedule ff controlled substance, to-v.'it:

methamphctamine; all in violation of Title 21, United States (~ode, Section 84l(a)(l) and

841(b)(l)(C).

                                            COUNT SIX
                                (Distribution of Methamphctaminc)
        That on or about June 23, 2016, in the Macon f)ivision of the Middle District of(Jeorgia,

and e!sev.'here within the jurisdiction of this Court,

                              (I) WALTER WILLIA:v!S a/k/a "HUBBA,"

did unlav..·fully, knov..'ingly, and intentionally distribute a Schedule II controlled substance, to-v..·it:

methamphctamine, in an amount in excess of 50 grams; all in violation of Title 21, l)nitcd States

Code, Section 84l(a)(l) and 84l(b)(l)(A)(viii).
     Case 5:17-cr-00013-MTT-CHW              Document 1        Filed 04/11/17      Page 4 of 12



                                      COUNT SEVEN
                            (Distribution of Methamphetamine)
       That on or about June 29, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                            (I) WALTER WILLIAMS a/k/a "BUBBA,"

did unla\.vfully, kno\vingly, and intentionally distribute a Schedule II controlled substance, to-wit:

methamphetamine, in an amount in excess of 50 grams; all in violation of Title 21, United States

Code, Section 84l(a)(l) and 84l(b)(l)(A)(viii).

                                       COUNT EIGHT
                            (Distribution of Methamphetamine)
       That on or about July 6, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                            (I) WALTER WILLIAMS a/k/a "BUBBA,"

did unlawfully, knowingly, and intentionally distribute a Schedule II controlled substance, to-wit:

methamphetamine, in an amount in excess of 50 grams; all in violation of Title 21, United States

Code, Section 84l(a)(l) and 84l(b)(l)(A)(viii).

                                        COUNT NINE
                             (Distribution of Methamphetamine)
       That on or about July 25, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                            (I) WALTER WILLIAMS a/k/a "BUBBA,"

did unlawfully, knowingly, and intentionally distribute a Schedule II controlled substance, to-wit:

methamphetamine, in an amount in excess of 50 grams; all in violation of Title 21, United States

Code, Section 841(a)(l) and 841(b)(l)(A)(viii).
     Case 5:17-cr-00013-MTT-CHW             Document 1       Filed 04/11/17     Page 5 of 12



                                        COUNT TEN
                            (Distribution of Methamphetamine)
       That on or about August 11, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                            (!) WALTER WILLIAMS alk/a "BUBBA,"

did unlawfully, knowingly. and intentionally distribute a Schedule II controlled substance, to-wit:

methamphetarnine, in an amount in excess of 50 grams; all in violation of Title 21, United States

Code, Section 84l(a)(1) and 84 l(b)(l )(A)(viii).

                                      COUNT ELEVEN
                            (Distribution of Methamphetamine)
       That on or about August 19, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                           (I) WALTER WILLIAMS a/k/a "BUBBA,"

did unlawfully, knowingly, and intentionally distribute a Schedule II controlled substance, to-wit:

rnethamphetamine, in an amount in excess of 50 grams; all in violation of Title 21, United States

Code, Section 841(a)(1) and 841 (b)(I )(A)(viii).

                                      COUNT TWELVE
                              (Distribution of Methamphetamine)
       That on or about August 25, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                           (I) WALTER WILLIAMS a/k/a "BUBBA,"

did unlawfully, knowingly, and intentionally distribute a Schedule II controlled substance, to-wit:

methamphetamine, in an amount in excess of 50 grams; all in violation of Title 21, United States

Code, Section 841(a)(l) and 84l(b)(l)(A)(viii).
     Case 5:17-cr-00013-MTT-CHW              Document 1       Filed 04/11/17      Page 6 of 12



                                   COUNT THIRTEEN
                 (Possession with Intent to Distribute Methamphetamine)
   That on or about October 8, 2016, in the Macon Division of the Middle District of Georgia,

and elsewhere within the jurisdiction of this Court,

                                 (3) ELIZABETH GALLAHER

aided and abetted by,

                         (!)WALTER WILLIAMS a/k/a "BURBA," and

                                 (7) RUSSELL TODD MATHIS

did unlawfully, knowingly, and intentionally possess with intent to distribute a Schedule II

controlled substance, to-wit: methamphetamine, in an amount in excess of 50 grams; all in

violation of Title 21, United States Code, Section 84l(a)(I) and 841(b)(l)(A)(viii), and Title 18,

United States Code, Section 2.


                                  COUNT FOURTEEN
                 (Possession with Intent to Distribute Methamphetamine)
       That on or about October 20, 2016, in the Macon Division of the Middle District of

Georgia, and elsewhere within the jurisdiction of this Court,

                            (!)WALTER WILLIAMS a/k/a "BURBA,"
                                     (6) BOBBY MARTINEZ,
                               (8) ANTONIO MENDEZ-RAMOS,
                        (10) RUBEN ANGEL PEREZ a/k/a "EL REY,"
                                    (11) ASHLEE SHAW, and
                                      (13) SHANA WALKER

aided and abetted by each other, and by others, both known and unknown to the Grand Jury, did

unlawfully, knowingly, and intentionally possess with intent to distribute a Schedule II controlled

substance, to-wit: methamphetamine, in an amount in excess of 50 grams; all in violation of Title

21, United States Code, Section 84 l(a)(l) and 841 (b)(I )(A)(viii), and Title 18, United States Code,

Section 2.
     Case 5:17-cr-00013-MTT-CHW                 Document 1            Filed 04/11/17   Page 7 of 12



                                     COt:NT FIFTEEN
                      (Possession with Intent to Distribute Marijuana)
        That on or about October 20, 2016, in the ~aeon Division of the Middle District of

Georgia, and elsewhere \.Vithin the jurisdiction of this Court,

                                     (9) CHADWICK NICHOLSON

did unlawfully, knowingly, and intentionally possess with intent to distribute a Schedule I

controlled substance, to-wit: marijuana; all in violation of Title 21, United States Code, Section

84l(a)(l) and 84l(b)(l)(D).

                                     COt:NT SIXTEEN
                  (Possession with Intent to Distribute Methamphetamine)
        That on or about October 20, 2016, in the Macon Division of the Middle District of

Georgia, and else\.vhere v...·ithin the jurisdiction of this Court,

                                (7) RUSSELL TODD MATHIS, and
                                      (12) DANNA STOKES

aided and abetted by each other and by others, both known and unknown to the Grand Jury, did

unlawfully, knowingly, and intentionally possess with intent to distribute a Schedule II controlled

substance, to-wit: methamphetamine, in an amount in excess of 50 grams; all in violation of Title

21, United States Code, Section 841 (a)(l) and 841 (b)(l )(A)( viii), and Title 18, United States Code,

Section 2.

                                   COUNT SEVENTEEN
                  (Possession with Intent to Distribute Methamphetamine)
        That on or about October 21, 2016, in the Macon Division of the Middle District of

Georgia, and elsewhere within the jurisdiction of this Court,

                                     (7) RUSSELL TODD MATHIS

did unlawfully, knowingly, and intentionally possess with intent to distribute a Schedule II

controlled substance, to-wit: methamphetamine, in an amount in excess of 50 grams; all in

violation of Title 21, United States Code, Section 841 (a)(l) and 841 (b )(1 )(A)(viii).
     Case 5:17-cr-00013-MTT-CHW              Document 1       Filed 04/11/17      Page 8 of 12



                                      COUNT EIGHTEEN
            (Possession of a Firearm in Furtherance of a Drug 'frafficking Crime and
            Carrying a Firearm During and in Relation to a llrug Trafficking Crime)

   'fhat on or about October 21, 2016, in the Macon Division of the Middle IJistrict of Georgia,

and elsewhere within the jurisdiction of this (~ourt,

                                   (7) RUSSELL TODD MATHIS

did knowingly possess a firearm, to-wit: one (I) 38 Special, Model lJndercover, revolver, Serial

Number 98184, in furtherance of a drug trafficking crime for which he may be prosecuted in a

court of the lJnited States, that is, the offense set forth in Count Seventeen of this [ndictmcnt, and

did knowingly carry said fireann during and in relation to the drug trafficking crime set forth in

Count Seventeen; all in violation of Title 18, United States Code, Section 924(c)(l).


            GENERAL FORFEITURE NOTICE AS TO ALL DEFENDANTS
   (21 U.S.C. § 853, 18 U.S.C. § 924(d)(l), and 28 U.S.C. § 2461(c)- Criminal Forfeiture)

       1.       The allegations contained in Counts One through Eighteen of this Indictment are

hereby re-alleged and incorporated by reference into this Notice for the purpose of alleging

forfeitures to the United States of America, pursuant to the provisions of T'itle 21, lJnited States

Code, Section 853, and/or Title 18, lJnitcd States Code, Section 924(d)(I), in conjunction with

Title 28. United States Code, Section 246l(c).

       2.        Upon conviction of the offensc(s) in violation of Title 21, United States Code,

Section 846, in connection with l'itlc 21, lJnited States Code, Sections 84l(a)(l) and

841(b)(l)(A)(viii) set forth in Count One; and/or Title 21, United States Code, Section 846, in

connection with Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C) set forth in

Count Two; and/or Title 21, United States Code, Sections 841(a)(l) and 84l(b)(l)(A)(viii) set

forth in Counts Three through Four, Six through Fourteen, and Sixteen through Seventeen; and/or

Title 21, United States Code, Sections 841(a)(l) and 841(b)(l)(C) set forth in Count Five, and/or
    Case 5:17-cr-00013-MTT-CHW               Document 1        Filed 04/11/17      Page 9 of 12



Title 21, United States Code, Sections 84l(a)(l) and 84l(b)(l)(D) set forth in Count Fifteen;

and/or Title 18, United States Code, Section 924(c)(l) set forth in Count Eighteen of the Indictment

the defendant(s),

                            (I) WALTER WILLIAMS a/k/a "BUBBA,"
                                   (2) MILTON DOBBIN EVANS,
                                    (3) ELIZABETH GALLAHER,
                                (4) JAMES HOWELL alk/a "FLIP,"
                                          (5) LAYLA KEANEY,
                                        (6) BOBBY MARTINEZ,
                                   (7) RUSSELL TODD MATHIS,
                                 (8) ANTONIO MENDEZ-RAMOS,
                                   (9) CHADWICK NICHOLSON,
                        (IO) RUBEN ANGEL PEREZ a/k/a "EL REY,"
                                       (11) ASHLEE SHAW,
                                    (12) DANNA STOKES, and
                                           (13) SHANA WALKER

shall forfeit to the lJnited States of America pursuant to Title 21, lJnitcd States Code, Section 853,

any property constituting, or derived from, any proceeds obtained, directly and indirectly, as a

result of such offensc(s), and any property, real or personal, used, or intended to be used in any

manner or part to commit, or to facilitate the commission of the offense(s); and/or any firearms

and ammunition involved in the commission of the offense(s), pursuant to Title 18, lJnited States

Code, Section 924(d)(l), in conjunction with Title 28, lJnited States Code, Section 2461(c).

       3.       If any of the property subject to JOrfeiture, as a result of any act or omission of the

dcfendant(s):

       (a)      cannot be located upon exercise of due diligence;

       (b)      has been transferred, sold to or deposited with, a third person;

       (c)      has been placed beyond the jurisdiction of the court;

       (d)      has been substantially diminished in value; or
    Case 5:17-cr-00013-MTT-CHW              Document 1        Filed 04/11/17      Page 10 of 12



       (c)     has been commingled with other property which cannot be subdivided

               without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant to 'J'itlc

21, United States Code, Section 853(p), and/or Title 18, United States Code, Section 924(d)(l ), as

incorporated by 'fitle 28, lJnited States Code, Section 2461(c).

       All pursuant to 'fitlc 21, United States Code, Section 853, ·ritle 18, United States Code,

Section 924(d)(l), and Title 28, United States Code, Section 246l(c).

             DETAILED FORFEITURE NOTICE AS TO (6) BOBBY MARTINEZ
                        (21 U.S.C. § 853- Criminal Forfeiture)

       1.      "I'he allegations contained in Counts One, Two, and Fourteen of this Indictment are

hereby re-alleged and incorporated by reference into this Notice for the purpose of alleging

forfeitures to the lJnited States of America, pursuant to the provisi{lns of Title 21, lJnitcd States

Code, Section 853.

       2.      Upon conviction of the offcnse(s) in violation of Title 21, lJnited States Code,

Section 846, in connection with 'fitle 21, lJnited States Code, Sections 841 (a)(l ), and

84l(b)(l)(A)(viii) set forth in Count One; and/or Title 21, United States Code, Section 846, in

connection with Title 21, United States Code, Sections 841 (a)(!) and 841 (b)(l )(C) set forth in

Count Two; and/or Title 21, United Stales Code, Sections 841 (a)(l) and 841 (b )(1 )(A)(viii) set

forth in Count Fourteen of this Indictment, the defendant,

                                     (6) BOBBY MARTINEZ,

shall forfeit to the United States of America pursuant to Title 21, United States Code,

Section 853, any property constituting, or derived from, any proceeds obtained, directly

and indirectly, as a result {)f such offense(s), and any property, real or personal, used, or

intended to be used in any manner or part t{l commit, or to facilitate the commission of the
    Case 5:17-cr-00013-MTT-CHW          Document 1       Filed 04/11/17    Page 11 of 12



offense(s), including, but not limited to thirty-one thousand and five hundred dollars

($31,500.00) in United States funds.

       3.     If any of the property subject to forfeiture, as a result of any act or omission

of the defendant:

       (a)    cannot be located upon exercise of due diligence;

       (b)    has been transferred, sold to or deposited with, a third person;

       (c)    has been placed beyond the jurisdiction of the court;

       (d)    has been substantially diminished in value; or

       (e)    has been commingled with other property which cannot be subdivided

              without difficulty,

the United States of America shall be entitled to forfeiture of substitute property pursuant

to Title 21, United States Code, Section 853(p ).

       All pursuant to Title 21, United States Code, Section 853.
    Case 5:17-cr-00013-MTT-CHW            Document 1      Filed 04/11/17        Page 12 of 12



                                            A TRUE BILL.


                                            Isl Foreperson of the (lrand Jury
                                            FOREPERSON OF THE GRAND JURY

G.F. PETERMAN, III
UNITED STATES ATTORNEY

PrcU~~
ELIZABETH S. HOWARD
ASSISTANT UNITED STATES ATTORNEY

Filed in open court this / llA-aay of April, AD 2017.


DeputyC~~                                       .
